Steven C. Levi

P.O. Box 241467 TAN
Anchorage, AK 99524 DE

Phone: 907-337-2021 C06 2018

 

CLERK, U, S, pI

ST,
COURT RICT

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

Steven C. Levi,

Plaintiff Case No.

Vs.

State of Alaska, COMPLAINT UNDER
Defendant THE CIVIL RIGHTS ACT

42 U.S. C. § 1983

(NON-PRISONERS)
A. Jurisdiction

Jurisdiction is invoked under 28 U. S. C. § 1343(a)(3) and 42 U. S. C. § 1983.

B. Parties

lam

. Plaintiff: This complaint alleges that the civil rights of Steven C. Levi who presently
resides at 10651 Republic Circle, Anchorage, Alaska 99515 [Mailing address, P. O.

Box 241467, Anchorage, Alaska, 99524] were violated by the State of Alaska.

IS

Defendant: State of Alaska, Department of Labor, violated my rights, and I seek

injunctive relief.

C. Causes of Action
On three occasions before 2014, plaintiff received unemployment benefits from the
State of Alaska. Plaintiff interpreted the reporting rules in the Unemployment Manual

to read that if someone made less than $50 per day, the amount did not have to be

Steven C. Levi (pro se)
Box 241467
Anchorage, AK 99524
scl@parsnackle.com

Case 3:18-cv-00282-RRB Document1 Filed 12/06/18 Page 1 of 7
Page |2

reported. The plaintiff made more than $50 per day during those three periods of

unemployment.

On December 7, 2011, the State of Alaska Department of Labor allegedly determined
that plaintiff was in violation of Department of Labor rules, But the Department of
Labor did not contact plaintiff of the alleged violation in 2011. The Department of
Labor also did not contact the plaintiff of the alleged violation the next two times
plaintiff filed for unemployment. The plaintiff was only contacted in December of
2016, and then for back-charges for all alleged improper payments of unemployment

benefits plus penalties.

On October 9, 2017, Superior Court Judge Frank A. Pfiffner issued a DECISION
AND ORDER affirming the Department of Labor’s action requiring plaintiff “to
repay overpaid benefits for the weeks at issue, and impos[ed] a monetary penalty of
50 percent of the overpaid benefit and a 52-week disqualification from receiving

further benefits.”

The case was appealed to the Alaska Supreme Court, S-16876, which affirmed the
Superior Court’s decision on a single basis: Plaintiff made more that $50 per time

period. The Alaska Supreme Court OPINION is Appendix 1.

Steven C. Levi (pro se)
Box 241467
Anchorage, AK 99524
scl@parsnackle.com

Case 3:18-cv-00282-RRB Document1 Filed 12/06/18 Page 2 of 7
Page |3

Plaintiff claims as follows:

The OPINION of the Alaska Supreme Court states, on Page 2,
Levi argues that he was not required to report his wages unless he earned more
than $50 a day. But Levi’s reading of the handbook is unreasonable; in any event,
the governing statute requires a reduction in benefits whenever a claimant wages
are more than $50 a week. Levi makes other arguments, but none of them have
any merit.
Specifically regarding the wording of the first two sentences, Levi was required to read
the Unemployment Manual which does not state the per day limit is $50 “a day.” No
time frame is given. The “a day” wording is in the State of Alaska statute but Levi was
not required to read the Statute. Contrary to the OPINION, the reading of the handbook

was not only “reasonable,” it is required. The fact the Unemployment Manual wording is

not in line with State Statute is an error of the State of Alaska, no plaintiff.

Specifically regarding the wording of the last sentence, OPINION completely ignores

three (3) critical facts:

First, this case should never have been brought to court in the first place. The
State of Alaska Department of Labor violated AS 23.20.390 by failing to

promptly prepare and deliver or mail to the individual at the individual's
last address of record a notice of determination of liability declaring that
the individual has been determined liable to refund the amount of benefits
to which the individual is not entitled. The amount, if not previously
collected, shall be deducted from future benefits payable to the individual.

Steven C. Levi (pro se)
Box 241467
Anchorage, AK 99524
scl@parsnackle.com

Case 3:18-cv-00282-RRB Document1 Filed 12/06/18 Page 3 of 7
Page |4

Second, the State of Alaska gave tacit consent to the plaintiff by failing to notify
plaintiff of the alleged shortcomings two (2) more times when plaintiff filed for a

received unemployment benefits.

Third, the State of Alaska failed to commence pursuit of repayment of the alleged
debt “within three years after the cause of action,” AS 45.04.111. There are two
proofs the State of Alaska considers the money in question a debt. First, plaintiff
is receiving monthly bills from the State of Alaska Department of Labor
demanding payment of a debt. Second, plaintiff's Permanent Fund Dividend was
garnished pursuant to a written order from the State of Alaska, Department of

Labor for payment of an alleged debt.

Additionally:

On Page 6 and throughout the OPINION, are references to “a conflict of interest
based on an alleged mortgage fraud scheme perpetrated by Wells Fargo.” This is a
matter which is in legal doubt for two reasons. First, denial of the plaintiff's two
(2) motions for Discovery and Admissions eliminated Plaintiffs ability to prove
the “fraud scheme.” Plaintiff filed two (2) Discovery motions and two (2)
Admissions motions which were neither ordered or denied by the Superior

Court. Levi was simply found guilty. Levi was denied both Motions for

Discovery and Admits, a violation of Alaska Court Rule 6. Second, the

Steven C. Levi (pro se)
Box 241467
Anchorage, AK 99524
scl@parsnackle.com

Case 3:18-cv-00282-RRB Document1 Filed 12/06/18 Page 4 of 7
Page |5

“alleged fraud scheme” is the centerpiece of a currently active Writ of Mandamus
filed with the United States District Court in Anchorage, CASE NO: 3:17-cv-

000183-TMB.

Plaintiff filed a motion for a Trial by Jury. The motion was neither granted nor
denied. Plaintiff was simply found guilty by the Superior Court. Of significance to
this appeal, on Page 8 of the OPINION is the statement: “The superior court
denied the motion.” This is in error. Plaintiff never received a denial of that

motion.

On Page 17 and 19, the OPINION states plaintiff was not entitled to a jury trial.
The OPINION alleges the matter is an “administrative appeal” and therefore
plaintiff was “not entitled to a jury trial in an administrative appeal.” There is
no specific writing in Alaska R. App. P. 601 which excludes a jury trial. Further,
under Judicial Relief in Administrative Manners, 44.62.305 (b), “A person may
seek judicial relief under (a) of this section by filing a petition in the superior
court.” The refusal of a jury trial to plaintiff is an error that was not considered by
the Alaska Supreme Court to have any merit — a specific violation of the United

States Constitution.

Further, on Page 17, the OPINION justifies the State of Alaska’s position by

referencing Carlson V. Renkes. Plaintiff asserts this reference is not applicable

Steven C. Levi (pro se)
Box 241467
Anchorage, AK 99524
scl@parsnackle.com

Case 3:18-cv-00282-RRB Document1 Filed 12/06/18 Page 5 of 7
Page |6

and irrelevant. Carlson, the plaintiff in Carlson V. Renkes, was petitioning the
court for relief in an administrative network in which he was involved. The
plaintiff is this case was a defendant in the initial case in the Alaska Superior
court and was/is not in the administrative network of the State of Alaska. The
case against the plaintiff in this case ceased being an administrative matter when

the State of Alaska filed the legal case.

Previous Law Suits
The matter of the legality of gift mortgages and the involvement of Wells Fargo
specifically is the subject of a Writ of Mandamus filed with the United States District

Court in Anchorage, CASE NO: 3:17-cv-000183-TMB.

D. Request for Relief

Plaintiff requests that this Court dismiss all charges against the Plaintiff with Prejudice.

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that he is the plaintiff in the above
action, that he has read the above civil rights complaint and that the information
contained is the complaint is true and correct.

Executed at Angforage, Alaska Ovember 30, 2018.

  
  

a
Steven C. Levi, Plaintiff

Steven C. Levi (pro se)
Box 241467
Anchorage, AK 99524
scl@parsnackle.com

Case 3:18-cv-00282-RRB Document1 Filed 12/06/18 Page 6 of 7
’ Steven C. Levi
Box 241467 |
Anchorage, AK 99524

U.S. District Court
222 W. 7th Avenue, Rm 229
Anchorage, AK 99513

Case 3:18-cv-00282-RRB Document1 Filed 12/06/18 Page 7 of 7

 
